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                         EXHIBIT 2
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                 DECLARATION OF DEREK CUMMINGS


I, Derek Cummings, hereby declare under the penalty of perjury pursuant to 28

U.S.C. § 1746:


   1. I make this declaration based on my personal knowledge except where I

      have indicated otherwise. If called as a witness, I could and would testify

      competently and truthfully to these matters.


   2. I am a Professor of Biology at the University of Florida and at the Emerging

      Pathogens Institute. I am a specialist in infectious disease epidemiology. I

      specialize in influenza, dengue and other mosquito-borne pathogens, and

      other respiratory illnesses. Before the pandemic of COVID-19, I had worked

      on multiple aspects of coronaviruses including an outbreak investigation of

      the first major outbreak of MERS (genetically related to SARS and SARS-

      CoV-2) in a hospital setting (in Saudi Arabia), efforts to estimate the extent

      of outbreaks of MERS and work to estimate the natural history of SARS. I

      have also conducted a large, multisite study of personal protective

      equipment to protect health care personnel from respiratory viruses

      including coronaviruses. My work on coronaviruses has been published in

      the New England Journal of Medicine, the Journal of American Medical

      Association and the Proceedings of the National Academy of Science.
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   Presently, I am providing guidance to the US CDC on personal protective

   equipment policy for the SARS-CoV-2 outbreak and providing input on

   models of the outbreak as part of a CDC working group.


3. COVID-19 is a disease caused by a novel zoonotic coronavirus, called

   SARS-CoV-2. It emerged in the Chinese province of Hubei in late 2019 and

   has since spread to 173 countries. The World Health Organization declared

   COVID-19 a pandemic on March 11, 2020. As of March 25, 2020, over

   468,000 confirmed cases have been reported worldwide, causing over

   21,000 deaths. The United States has had local transmission since January

   2020, and since March has been experiencing an exponential rise in

   confirmed cases and widespread transmission across the country.


4. COVID-19 can cause severe symptoms, in particular pneumonia

   (inflammation of the lungs associated with infection), and can lead to death.

   Certain populations are at particularly high risk of severe outcomes. The

   CDC advises that individuals over 65 years old, individuals who are

   immunocompromised, and individuals with certain comorbidities including

   lung disease, heart disease, obesity, diabetes are at high risk for severe

   COVID-19 illness. Various studies have examined the time from symptom

   onset to hospitalization or severe symptoms, with estimates of the average


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   currently ranging from 7-9 days.


5. The case fatality rate among individuals presenting with symptoms has been

   estimated at 1.4% in Wuhan, the capital city of Hubei province, with higher

   rates in those over 65 and those with comorbidities. Case fatality rates are

   likely to vary from setting to setting, increasing as the healthcare system in

   an area becomes overburdened and sick patients are unable to be prioritized.

   Case fatality rates are also affected by surveillance practices in any setting

   which affect the number of cases included in the denominator of this rate.


6. Hospitalization with COVID-19 commonly is associated with need for

   intensive care and a ventilator to assist breathing. There are currently

   estimated to be ~45,000 ICU beds and ~160,000 ventilators in the USA,

   many of which are occupied by individuals sick with illnesses other than

   COVID-19. Uncontrolled spread of the virus would likely result in over 50%

   of the population becoming infected. Model projections, except under the

   most strict control measures, predict incidence of patients requiring

   hospitalization or ventilators rising well above the US capacity.


7. SARS-CoV-2 is a respiratory pathogen, meaning that it is spread through

   respiratory secretions, for example droplets expelled by an infected

   individual coughing or sneezing, in which the pathogen can remain viable

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   for at least 3 hours. Transmission can occur either by direct person-to-person

   contact, inhalation of these droplets, or by touching surfaces contaminated

   with these droplets.


8. There are multiple sources of evidence documenting pre-symptomatic

   transmission (i.e. the ability of an infected individual to infect others before

   their symptoms appear). A study in Singapore and Tianjin, China, estimated

   that 50% of transmission is due to pre-symptomatic individuals.

   Interventions targeting only transmission by sick individuals (such as

   isolation of those with symptoms) are therefore unlikely to contain

   transmission.


9. Timely and widespread testing of symptomatic individuals and their contacts

   is therefore essential to slowing transmission of the virus. The success of

   massive testing, active contact tracing, and isolation of individuals showing

   any COVID-19 symptoms has been demonstrated by the case of the

   Republic of Korea, which appears to have controlled local transmission. The

   scale and extent of transmission in the United States makes these tactics on

   their own infeasible, as contact tracing is very resource-intensive. However,

   without widespread availability of testing for individuals experiencing

   symptoms, it is impossible to know if local transmission is occurring in a


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   county or city and impossible to refine interventions in a specific location

   with the information that accurate surveillance provides.


10. There is no vaccine against SARS-CoV-2 infection, nor are there

   prophylactic pharmaceutical interventions or treatments that have been

   shown to reduce infection risk or symptom severity. Experimental

   treatments are, at a minimum, months from widespread availability due to

   the need to demonstrate effectiveness and obtain regulatory approval.


11. In the absence of pharmaceutical interventions, the only way to slow the rate

   of transmission is through a combination of preventive measures, chiefly

   social distancing, hygiene and isolation of cases. The lockdown in Wuhan,

   an extreme form of social distancing, was followed by a sustained decrease

   in transmission, and two months later the daily number of reported cases has

   dropped to zero, and lockdown restrictions will be lifted on April 8, 2020.


12. The goal of social distancing is to reduce the average number of contacts

   that individuals in the population have. All individuals should practice social

   distancing to the extent they can, not just to reduce their own risk of

   acquiring COVID-19, but to reduce their risk of infecting others. Reduced

   transmission reduces the growth rate of cases, easing pressure on hospitals

   and giving institutions more time to prepare.

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13. Detained populations, including those in immigration detention facilities, are

   at high risk for infectious disease compared to the general population.

   Factors contributing to this excess risk include poor sanitation, lack of

   access to hygiene precautions, and high population density. In addition,

   transfer of detained immigrants between facilities complicates efforts to

   control infection and trace contacts. A recent outbreak of mumps in

   immigration detention facilities demonstrate the ability of an infectious

   agent to spread rapidly between centers, infecting at least 900 people from

   September 2018-August 2019.


14. The ability of SARS-CoV-2 to spread rapidly and widely in a closed

   population is demonstrated by the experience of cruise ships, including the

   Diamond Princess, on which around 700 (19%) of passengers and crew on

   board were infected over the course of three weeks despite the initiation of

   quarantine protocols. 11 of these individuals subsequently died.


15. Transmission of SARS-CoV-2 in detention facilities in the United States

   would lead to widespread and severe illness among the detained population,

   particularly among those considered at high risk.


16. Personal hygiene measures are effective at reducing infection risk, but for a

   virus as transmissible as SARS-CoV-2 they will be not be sufficient on their

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   own to curtail its spread. Furthermore, hygiene measures are only effective

   when there is sufficient access to them, and many individuals in incarcerated

   populations do not have adequate access to soap and water. Finally, other

   measures, such as regular disinfecting of surfaces, should supplement these

   efforts.


17. Due to the substantial amount of pre-symptomatic transmission observed in

   other settings, it is impossible to prevent intake of infectious individuals

   through screening for symptoms alone. Moreover, due to inadequate rates of

   COVID-19 testing in the United States, it is not possible to rule out local

   transmission because of lack of confirmed cases. Merely asking about travel

   history to areas with sustained community transmission, or contact with

   infected individuals, cannot rule out the possibility that an individual is

   infected with SARS-CoV-2 upon intake into a detention center.


18. Moreover, staff members who may be living in areas with sustained

   community transmission are able to transmit the disease to detained

   immigrants. This transmission too could occur while the staff members are

   asymptomatic, and thus cannot be controlled by screening for symptoms or

   contact history.


19. These concerns are not hypothetical: a detained immigrant in the Bergen

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      County Jail, NJ, tested positive for SARS-CoV-2 on March 24, 2020, and

      that staffers at Elizabeth Detention Center, NJ, and Aurora Detention Center,

      CO, have also tested positive for SARS-CoV-2


   20. Isolation of symptomatic individuals within detention settings similarly will

      not stop transmission before symptom onset. As there are several modes of

      transmission other than direct person-to-person contact, it is not possible to

      identify all individuals who have had contact with a COVID-19 case.

      Quarantine of suspected contacts will therefore likely reduce the rate of

      spread of the virus in a facility but will not eliminate transmission.


Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the foregoing is

true and correct.


Executed this 29 day in March, 2020 in Gainesville, Florida.




Prof. Derek Cummings




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                          EXHIBIT A
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                                    CURRICULUM VITAE

                                   DEREK A.T. CUMMINGS

PERSONAL DATA

Business Address:     Department of Biology
                      University of Florida
                      Bartram Hall
                      Gainesville, FL 32608

Mobile:               (410)-916-1371
Fax:                  (352)-392-9925
Email:                datc@ufl.edu


EDUCATION AND TRAINING

PhD, 2004             Johns Hopkins University, Whiting School of Engineering
                      Geography and Environmental Engineering

MHS, 2004             Johns Hopkins University, Bloomberg School of Public Health
                      International Health

MS, 2001              Johns Hopkins University, Whiting School of Engineering
                      Geography and Environmental Engineering

ScB, 1996             Brown University
                      Chemistry

PROFESSIONAL EXPERIENCE

UF Preeminence Professor     Department of Biology, University of Florida
                             2015-present

UF Preeminence Professor     Emerging Pathogens Institute
                             2015-present

Adjunct Professor            Department of Epidemiology, Johns Hopkins Bloomberg School of
                             Public Health
                             2015-present

Adjunct Professor            Department of International Health, Johns Hopkins Bloomberg School of
                             Public Health
                             2015-present

Associate Professor          Department of Epidemiology, Johns Hopkins Bloomberg School of
                             Public Health
                             2013-2015


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Adjunct Associate Professor    Department of International Health, Johns Hopkins Bloomberg School of
                               Public Health
                               2013-2015

Adjunct Associate Professor    Department of Epidemiology, University of Pittsburgh Graduate School
                               of Public Health
                               2013-2015

Nonresident Fellow             Brookings Institution
                               2007-present

Assistant Professor            Department of Epidemiology, Johns Hopkins Bloomberg School of
                               Public Health
                               2007-2013

Adjunct Assistant Professor    Department of International Health, Johns Hopkins Bloomberg School of
                               Public Health
                               2007-2013

Adjunct Assistant Professor    Department of Epidemiology, University of Pittsburgh Graduate School
                               of Public Health
                               2007-2013

Visiting Assistant Professor   Department of Epidemiology, University of Pittsburgh Graduate
                               School of Public Health, University of Pittsburgh
                               2006 – 2007

Visiting Assistant Professor   Department of Biostatistics, Bloomberg School of Public
                               Health, Johns Hopkins University
                               2006 – 2007

Research Associate             Department of International Health, Bloomberg School of Public Health,
                               Johns Hopkins University
                               2004 – 2006

Program Coordinator            NIH Modeling Infectious Disease Agents Study (MIDAS) Center,
                               University of Pittsburgh/Johns Hopkins University (pre-2006)
                               2003 - 2009

Research Assistant             Department of Geography and Environmental Engineering, GWC
                               Whiting School of Engineering, Johns Hopkins University
                               1999-2004

Case Worker                    Coalition for the Homeless, Crisis Intervention Program, NYC
                               1998


PROFESSIONAL ACTIVITIES




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Society Membership

Society for Epidemiological Research
2004-present

American Academy for the Advancement of Science
2004-present

Asia Pacific Society of Medical Virology
2001-present

American Society of Tropical Medicine and Hygiene
2000-present

DIMACS Focus on Computation and Mathematical Epidemiology
2000-2008

Participation on Advisory Panels

WHO Working Group on Dengue Burden Estimation
2014-present

EcoHealthNet
Member of Steering Committee
2015-present

NIH P01 Flavivirus Infections: Pathogenesis and Prevention
Member of External Advisory Committee
2013-present

WHO Disease Reference Group on Dengue and other Emerging Viral Diseases
2010-2011

Member of the WHO Informal Network for Mathematical Modeling, Working Group on Influenza A
(H1N1), 2009
2009

U.S. Department of Health and Human Services, Secretary’s Advisory Council on Public Health
Preparedness, Smallpox Modeling Working Group
2000-2002

Consultations
World Health Organization-Immunization and Vaccine-related Implementation Research (IVIR)
Advisory Committee Meeting-Consultation on Dengue Risk Maps
2017

MSF/Epicentre
Design of vaccine trial to assess fractional dose of yellow fever vaccine. Trial to be conducted in Uganda
and Kenya
2016-present



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MSF/Epicentre
Analysis of vaccine trial data from Rotavirus vaccine trial
2016

World Health Organization
Consultation on Mathematical Modeling of Dengue Intervention Impact
2014

Ministry of Health of Liberia
Ebola Outbreak Epidemiological Investigation
2014-2015

Kingdom of Saudi Arabia MERS-CoV Outbreak Investigation Team
2013-2014

Medimmune
Estimation of Burden of Influenza B
2011-2012

World Health Organization.
Disease Reference Group on Dengue and other Emerging Viral Diseases of Public Health Importance.
Scientific Committee.
2009

Epicentre and Medecins Sans Frontieres (MSF)
Outbreak investigation of measles in Maroua, Cameroon
2009

World Health Organization. Center for Vaccine Research.
Preparation of analysis of dengue models to assess future vaccine candidates.
2008

Data Safety and Management Boards (DSMB)
MSF-Epicentre
Randomized, double-blind non-inferiority trial of two antivenoms for the treatment of snakebite with
envenoming, Central African Republican
2015-present

MSF-Epicentre
Effect of systematic utilization of antibiotic therapy in the ambulatory treatment of uncomplicated severe
acute malnutrition
2013-2014

EDITORIAL ACTIVITIES

Study Sections
Member, NIH Clinical Research and Field Studies of Infectious Disease Study Section
2016-2019

NIH Special Emphasis Panel on International Collaborations in Environmental Health-ad hoc
participation


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2014, 2015

NIH Clinical Research and Field Studies of Infectious Disease Study Section-ad hoc participation
2013, 2014, 2016

NIH Director’s Independence Award-ad hoc participation
2014, 2015, 2016

NIH Modeling and Analysis of Biological Systems-ad hoc participation
2013

NIH Infectious Disease, Reproductive Health, and Asthma/Pulmonary Conditions-ad hoc participation
2012, 2013

NSF/NIH Ecology and Evolution of Infectious Diseases-ad hoc participation
2012

Peer Review Activities

Associate Editor:
       American Journal of Epidemiology, 2010-2014

Academic Editor:
      PLoS Medicine, 2011, 2012, 2013, 2014, 2015
      PLoS Computational Biology, 2009-2010, 2014

Referee:
           Nature, New England Journal of Medicine, Science, PLoS Biology, PLoS Medicine,
           Epidemiologic Reviews, American Journal of Epidemiology, Biostatistics, Emerging Infectious
           Diseases, Mathematical and Computer Modeling, PLoS Neglected Tropical Diseases, PLoS
           One, Biosecurity and Bioterrorism, Journal of Theoretical Biology, American Journal of
           Tropical Medicine and Hygiene, Journal of the Royal Society Interface, Proceedings of the
           Royal Society B, Physics Review A, Lancet, Proceedings of the National Academy of Science,
           Science, eLife

HONORS AND AWARDS

Awards

         KAVLI Frontiers in Science                                             2017
         University of Florida Term Professorship                               2017
         International Society for Disease Surveillance
                  Outstanding Research in Biosurveillance                       2015
         JHBSPH Teaching Excellence Award                                       2015
         Advising, Mentoring, and Teaching Recognition Award (AMTRA)            2012
         Burroughs Wellcome Career Award at the Scientific Interface            2007
         UTRA Fellow, Brown University                                          1996
         Meikeljohn Fellow, Brown University                                    1994
         Rotary Scholarship                                                     1992
         National Merit Scholar                                                 1992



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PUBLICATIONS (*served as advisor/mentor)
127 peer-reviewed papers, cited 12334 times (Google Scholar), 21 papers have been cited more than 100
times, H-index of 44 (44 papers have been cited more than 44 times)

Journal Articles

1. Cummings DA, McMaster J, Rieger AL, Rieger PH. EPR spectroscopic and theoretical study
chromium(I) carbonyl phosphine and phosphonite complexes. Organometallics 1997;16:4362-4368.

2. Epstein JM, Cummings DAT, Chakravarthy S, Singa RM, Burke DS. Toward a containment strategy
for smallpox bioterror: An individual based computational approach. Brookings Monographs 2004.

3. Cummings DAT, Irizarry RA, Huang NE, Endy TP, Nisalak A, Ungchusak K, Burke DS. Travelling
waves in the occurrence of dengue haemorrhagic fever in Thailand. Nature 2004;427:344-347.

4. Longini IM, Jr., Nizam A, Xu S, Ungchusak K, Hanshaoworakul W, Cummings DAT, Halloran ME.
Containing pandemic influenza at the source. Science 2005;309:1083-7.

5. Ferguson NM, Cummings DAT, Cauchemez S, Fraser C, Riley S, Meeyai A, Iamsirithaworn S,
Burke DS. Strategies for containing an emerging influenza pandemic in Southeast Asia. Nature
2005;437:209-214.

6. Cummings DAT, Schwartz IB, Billings L, Shaw LB, Burke DS. Dynamic effects of antibody-
dependent enhancement on the fitness of viruses. Proceedings of the National Academy of Sciences
2005;102:15259-64.

7. Schwartz IB, Shaw LB, Cummings DAT, Billings L, McCrary M, and Burke DS. Chaotic
desynchronization of multistrain diseases. Physical Review E. 2005;72:066201.

8. Cummings DAT, Moss WJ, Long K, Wiysonge CS, Muluh TJ, Kollo B, Nomo E, Wolfe ND and
Burke DS. Improved measles surveillance in Cameroon reveals two major dynamic patterns of incidence.
International Journal of Infectious Diseases 2006;10:148-155.

9. Ferguson NM, Cummings DAT, Fraser C, Cajka JC, Cooley PC, Burke DS. Strategies for mitigating
an influenza pandemic. Nature 2006;442:448-452.

10. Burke DS, Epstein JM, Cummings DAT, Parker JI, Cline KC, Singa RM, Chakravarty S. Individual-
based computational modeling of smallpox epidemic control strategies. Academic Emergency Medicine
2006;13:1142-1149.

11. Longini, IM, Halloran ME, Nizam A, Yang Y, Xu S, Burke DS, Cummings DAT, Epstein JM.
Containing a Large Bioterrorist Smallpox Attack: A Computer Simulation. International Journal of
Infectious Diseases 2007;11:98-108.

12. Billings L, Schwartz IB, Shaw LB, McCrary M, Burke DS, Cummings DAT. Instabilities in
multiserotype disease models with antibody-dependent enhancement. Journal of Theoretical Biology
2007;246:18-27.

13. Lessler J, Cummings DAT, Fishman S, Vora A, Burke DS. Transmissibility of Swine Flu at Fort
Dix, 1976. Journal of the Royal Society Interfaces 2007;4:755-762.



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*14. Vora A, Burke DS, Cummings DAT. The impact of a physical geographic barrier on the dynamics
of measles. Epidemiology and Infection 2008;136:713-720.

15. Halloran, M.E., Ferguson N.M., Eubank, S., Longini, I.M., Cummings, D.A.T., Lewis, B., Xu, S.,
Fraser, C., Vullikanti, A., Germann, T.C., Wagener, D., Beckman, R., Kadau, K., Barrett, C., Macken, C.,
Burke, D.S., Cooley, P. Modeling targeted layered containment of an influenza pandemic in the United
States. Proceedings of the National Academy of Sciences 2008;105:4639-4644.

16. Epstein, JM, Parker J, Cummings DAT, Hammond RA. Coupled Contagion Dynamics of Fear and
Disease: Mathematical and Computational Explorations. PLoS ONE 2008;3:e3955.

*17. Lessler, J, Reich, NG, Brookmeyer R, Perl TM, Nelson KE, Cummings DAT. A systematic review
of the incubation periods of acute respiratory viral infections. Lancet Infectious Diseases 2009;9:291-
300.

18. Reich NG, Lessler J, Cummings DAT, Brookmeyer R. Estimating incubation period distributions
with coarse data. Statistics in Medicine 2009;28:2769-84

19. Cummings DAT, Iamsirithaworn S, Lessler JT, McDermott A, Prasanthong R, Nisalak A, Jarman
RG, Burke DS, Gibbons RV. The impact of the demographic transition on dengue in Thailand: insights
from a statistical analysis and mathematical modeling. PLoS Medicine 2009;6:e1000139.

20. Cummings DAT. Temporal and Spatial Dynamics of Dengue Virus Transmission. Frontiers in
Dengue Virus Research. 2009:173-181.

*21. Johansson M, Cummings DAT, Glass G. Multi-year climate variability and dengue: El Niño
Southern Oscillation, Weather, and Dengue Incidence in Puerto Rico, Mexico, and Thailand. PLoS
Medicine 2009;6:e1000168.

*22. Lessler J, Reich N, Cummings DAT, NYC DOHMH Swine Influenza Investigation Team.
Outbreak of 2009 pandemic influenza A (H1N1) at a New York City High School. New England Journal
of Medicine. 2009 Dec 31;361(27):2628-36.

23. Solomon BD, Lacbawan F, Mercier S, Clegg NJ, Delgado MR, Rosenbaum K, Dubourg C, David V,
Olney AH, Wehner LE, Hehr U, Bale S, Paulussen A, Smeets HJ, Hardisty E, Tylki-Szymanska A,
Pronicka E, Clemens M, McPherson E, Hennekam RCM, Hahn J, Stashinko E, Levey E, Wieczorek D,
Roeder E, Schell-Apacik CC, Booth CW, Thomas RL, Kenwrick S, Cummings DAT, Bous SM, Keaton
A, Balog JZ, Hadley D, Zhou N, Long R, Vélez JI, Pineda-Alvarez DE, Odent S, Roessler E, Muenke M.
Mutations in ZIC2 in Human Holoprosencephaly: Description of a Novel ZIC2-Specific Phenotype and
Comprehensive Analysis of 157 Individuals. Journal of Medical Genetics 2010;47:513-24.

*24. Abbott III GH, Word DP, Cummings, DAT, Laird, CD. Estimating Seasonal Drivers in Childhood
Infectious Diseases with Continuous Time and Discrete-Time Models. Proceedings of the American
Control Conference. 2010:5137-5142.

*25. Word DP, Young JK, Cummings DAT, Laird CD. Estimation of seasonal transmission parameters
in childhood infectious disease using a stochastic continuous time model. Proceedings of the 20th
European Symposium on Computer Aided Process Engineering 2010:229-234.




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*26. Fried J, Gibbons RV, Kalayanarooj S, Thomas S, Srikiatkhachorn A, Yoon IK, Jarman RG, Greene
S, Cummings DAT. Serotype specific differences in the risk of dengue hemorrhagic fever in
hospitalized cases in Bangkok, Thailand, 1994-2006. PLoS Neglected Tropical Diseases 2010;4:e617.

27. Solomon, BD, Pineda-Alvarez DE, Raam MS, Cummings DAT. Evidence for inheritance in
patients with VACTERL association. Human Genetics 2010;127:731-3.

*28. Lessler J, Brookmeyer R, Reich NG, Nelson KE, Cummings DAT, Perl TM. Identifying probable
sources of infection for respiratory viruses. Infection Control and Hospital Epidemiology 2010;31:809-
15.

*29. van Panhuis WG, Gibbons RV, Endy TP, Rothman AL, Nisalak A, Burke DS, Cummings DAT.
Inferring the serotype of dengue virus infections based on pre- and post-infection neutralizing antibody
titers. Journal of Infectious Diseases. 2010;202:1002-10.

30. Solomon BD, Pineda-Alvarez DE, Raam MS, Bous SM, Keaton AA, Vélez JI, Cummings DAT.
Analysis of component findings in 79 patients diagnosed with VACTERL association. American Journal
of Medical Genetics part A 2010;152A:2236-44.

*31. Lessler J, dos Santos T, Aguilera X, Brookmeyer R. PAHO Influenza Technical Working Group,
Cummings, DAT. H1N1pdm in the Americas. Epidemics 2010;2:132-138.

*32. Lessler J, Moss WJ, Lowther SA, Cummings DAT. Maintaining high rates of measles
immunization in Africa. Epidemiology and Infection 2010;5:1-11.

33. Yang Y, Halloran ME, Daniel MJ, Longini IM, Jr., Burke DS, Cummings DAT. Modeling
competing infectious pathogens from a Bayesian perspective: application to influenza studies with
incomplete laboratory results. Journal of the American Statistical Association 2011;105:1310-1322.

34. Stebbins S, Stark JH, Prasad RK, Thompson WW, Mitruka K, Rinaldo C, Vukotich, CJ Jr., Burke
DS, Cummings DAT. Sensitivity and specificity of rapid influenza testing of children in a community
setting. Influenza and Other Respiratory Viruses 2011;5:104-9.

*35. Rodriguez-Barraquer I, Cordiero MT, Braga C, de Souza WV, Marques ET, Cummings DAT.
From re-emergence to hyperendemicity: the natural history of the dengue epidemic in Brazil. PLoS
Neglected Tropical Diseases 2011;5:e935.

36. Stebbins S, Cummings DAT, Stark J, Vukotich C, Mitruka K, Thompson W, Rinaldo C, Roth L,
Wagner M, Wisniewski SR, Dato V, Eng H, Burke DS. Reduction in the incidence of influenza A but not
influenza B associated with use of hand sanitizer and cough hygiene in schools: a randomized controlled
trial. Pediatric Infectious Disease Journal 2011;30:921-926.

*37. Lessler J, Reich N, Perl TM, Cummings DAT. Visualizing clinical evidence: citation networks for
the incubation periods of respiratory viral infections. PLoS One 2011;6:e19496.

38. Fraser C, Cummings DAT, Klinkenberg D, Burke DS, Ferguson NM. Influenza transmission in
households during the 1918 pandemic. American Journal of Epidemiology 2011;174:505-14.

39. Lee BY, Connor D, Kitchen S, Bacon K, Shah M, Brown S, Bailey R, Laosiritaworn Y, Burke DS,
Cummings DAT. Economic value of dengue vaccine in Thailand. American Journal of Tropical
Medicine and Hygiene 2011;84:764-72.


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*40. Van Panhuis W, Luxemburger C, Pengsaa K, Limkittikul K, Sabchareon A, Lang J, Durbin A,
Cummings DAT. Decay and persistence of maternal dengue antibodies among infants in Bangkok.
American Journal of Tropical Medicine and Hygiene 2011;85:355-62.

41. Lessler J, Cummings DAT, Read J, Wang S, Zhu H, Smith G, Guan Y, Jiang C, Riley S. Location-
specific patterns of exposure to recent pre-pandemic strains of influenza A in southern China. Nature
Communications 2011;2:423.

42. Johansson M, Hombach J, Cummings DAT. Models of the impact of dengue vaccines: a review of
current research and potential approaches. Vaccine 2011;29:5860-8.

43. Luquero FJ, Pham-Orsetti H, Cummings DAT, Ngaunji PE, Nimpa M, Fermon F, Ngoe N, Sosler S,
Strebel P, Grais RF. A long-lasting measles epidemic in Maroua, Cameroon 2008-2009: mass
vaccination as response to the epidemic. Journal of Infectious Diseases. 2011;204 Suppl 1:S243-51.

*44. Althouse BM, Ng YY, Cummings DAT. Prediction of dengue incidence using search query
surveillance. PLoS Neglected Tropical Diseases. 2011;5:e1258.

45. Lessler JT, Metcalf CJE, Grais RF, Luquero F, Cummings DAT, Grenfell BT. Measuring the
performance of vaccination programs using cross-sectional surveys: a likelihood framework and
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Meeting abstracts and presentations

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2. Cummings DAT, Burke DS. Spatial Synchrony and Phase Coherency of Seasonal Variation in
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3. Cummings DAT, Huang NE, Nisalak A, Endy TP, Burke DS. Periodic traveling waves in dengue
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Lumpur, Malaysia

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temperature, rainfall and the incidence of dengue hemorrhagic fever in Thailand. 53rd Annual Meeting of
the American Society of Tropical Medicine and Hygiene, 2004, Miami, FL

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3rd North American Congress of Epidemiology, Montreal, Canada, 2010.

18. Lessler J, Reich NG, Iamsirithaworn S, Cummings DAT. Predicition and imputation of spatio-
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59th Annual Meeting of the American Society of Tropical Medicine and Hygiene, Atlanta, GA, 2010.

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*22. Lessler J, Metcalf CM, Cummings DA, Grenfell BT. The coverage of measles vaccinations
activities in Africa. 3rd International Conference on Infectious Disease Dynamics, Boston, MA, 2011.

*23. Chadsuthi S, Althouse B, Iamsirithaworn S, Wannapong T, Cummings DAT. Climate, land use and
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60th Annual Meeting of the American Society of Tropical Medicine and Hygiene, Philadelphia, PA 2011.

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plaque reduction neutralization testing: systematic review and pooled analysis. 60th Annual Meeting of the
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Cummings DAT. Serological survey of dengue infections among individuals in Rayong, Thailand. 60th
Annual Meeting of the American Society of Tropical Medicine and Hygiene, Philadelphia, PA 2011.

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Thailand. 60th Annual Meeting of the American Society of Tropical Medicine and Hygiene, Philadelphia,
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*30. Salje H, Lessler J, Endy T, Curriero F, Gibbons RV, Nisalak A, Nimmannitya S, Jarman R, Burke
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Medicine and Hygiene, Philadelphia, PA 2011.




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31. Building models of school-based interventions to control influenza and other respiratory pathogens:
the role of proximity detectors and contact surveys to describe the social mixing of school aged children.
Cummings DAT, Cousins JH, Creppage K, Galloway D, Guclu H, Li K, Noble E, Brown S, Rainey J,
Read J, Gao H, Uzicanin A, Vukotich CJ Sr., Zimmer SM. Dynamics of Preparedness. University of
Pittsburgh.

32. Seroprevalence of dengue immunity among multiple species of non-human primates in Senegal.
American Society of Tropical Medicine and Hygiene. Cummings DAT, Althouse BA, Cummings DAT,
Guerbois M, Althouse BM, Sall AA, Diallo M, Diallo D, Diop O, Benefit B, Simons E, Watts DM, Weaver
SC, Hanley KA. American Society of Tropical Medicine and Hygiene. 2013.

*33. Potential opportunities and perils of imperfect dengue vaccines: Direct vs. indirect vaccine effects
Rodriguez-Barraquer I, Mier-y-Terán-Romero L, Schwartz IB, Burke DS, Cummings DAT. Epidemics.
Amsterdam, 2013.

34. Recreating Historic Patterns of Influenza Incidence from Cross-Sectional Serologic Data. Lessler J,
Riley S, Read JM, Zhu H, Jiang CQ, Guan Y, Derek AT Cummings. Epidemics. Amsterdam, 2013.

35. Social behavior and influenza infection. Kucharski AJ, Kwok KO, Wei VWI, Cowling BJ, Read JM,
Lessler JT, Cummings DAT, Riley S, Epidemics. Amsterdam, 2013.

36. Social connectivity along a population density gradient in southern China. Read JM, Lessler J, Riley
S, Wang S, Tan LJ, Kwok KO, Guan Y, Jiang CQ, Cummings DAT. Epidemics. Amsterdam, 2013.

37. Nonlinear Programming Techniques for Efficient Estimation of Large Spatio-Temporal Infectious
Disease Models. Cummings DAT, Laird CD, Word D, Burke DS. MIDAS Annual meeting. 2014

38. Adjusting underreported real time case data for prediction of Dengue in Thailand. Sakrejda K, Reich
NG, Cummings DAT, Suangtho P, Hinjoy S, Iamsirithaworn S, Clapham HE, Salje H. American Society
of Tropical Medicine and Hygiene. 2014

*39. Characterizing global and local trends in dengue transmission: insight from age-specific surveillance
data. Rodriguez Barraquer I, Cummings DAT. American Society of Tropical Medicine and Hygiene.
2014

*40. Estimating cross-enhancement and cross-protection of dengue viruses using time series data from
Thailand. Clapham HE, Reich NG, Yoon IK, Jarman RG, Sakrejda K, Fernandez S, Nisalak A,
Kalayanarooj S, Cummings DAT. American Society of Tropical Medicine and Hygiene. 2014

*41. Evidence for the recent emergence of dengue in Bangladesh: results from a seroprevalence study.
Salje H, Naser AM, Rahman M, Rahman MZ, Lessler J, Cummings DAT, Luby SP, Gurley E. American
Society of Tropical Medicine and Hygiene. 2014

*42. Mechanisms of traveling waves and periodic spatial synchronization of dengue hemorrhagic fever
incidence in Thailand. Mier-y-Teran Luis, Grabowski K, Lessler J, Salje H, Rodriguez-Barraquer I, Burke
D, Anantapreecha S, A-Nuegoonpipat A, Jarman R, Iamsirithaworn S, Bianco Si, Shaw LB, Schwartz IB,
Cummings DAT. American Society of Tropical Medicine and Hygiene. 2014

43. Real-time forecasting of the 2014 dengue fever season in Thailand. Reich NG, Sakrejda K,
Cummings DAT, Suarngtho P, Hinjoy S, Iamsiithaworn S, Clapham HE, Salje H, Lessler J. American
Society of Tropical Medicine and Hygiene. 2014


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*44. Variability in dengue titer estimates from plaque reduction neutralization tests poses a challenge to
epidemiological studies and vaccine development. Salje H, Rodriguez-Barraquer I, Rainwater-Lovett K,
Nisalak A, Thaisomboonsuk B, Thomas SJ, Fernandez S, Jarman RG, Yoon IK, Cummings DAT.
American Society of Tropical Medicine and Hygiene. 2014

*45. What proportion of dengue virus infections result in no apparent disease? Clapham HE, Cummings
DAT, Johansson MA. American Society of Tropical Medicine and Hygiene. 2014

46. Reconstructing transmission chains of influenza among school children using deep sequencing and
multiple sources of contact information. US NIH MIDAS Annual meeting. Washington, DC. May. 2016.

47. Dengue cohort comparison project. American Society of Tropical Medicine and Hygiene. Atlanta,
GA.Nov. 2016.

48. Correlation of Corrective Eyewear to Acute Respiratory Infection (ARI) Among Outpatient
Healthcare Personnel (HCP). ID Week. New Orleans, LA. Oct. 2016.

49. Predicting county-level influenza activity using school absenteeism data in Allegheny County, PA
from 2010-2015. ID Week. New Orleans, LA. Oct. 2016.

50. Influenza and Other Respiratory Viral Infections Among School Children in Pittsburgh, Pennsylvania.
ID Week. New Orleans, LA. Oct. 2016.

51. Ventilator-Associated Staphylococcus aureus and Pseudomonas aeruginosa Infections Among
Intensive Care Unit (ICU) Patients in Six Healthcare Systems: Temporal Trends and Risk Factors. ID
Week. New Orleans, LA. Oct. 2016.

52. Acute Respiratory Infections (ARIs) Among Outpatient Healthcare Personnel (HCP). ID Week. New
Orleans, LA. Oct. 2016.

53. Predicting county-level influenza activity using school absenteeism data in Allegheny County, PA
from 2010-2015. International Society for Disease Surveillance. Annual Meeting. Atlanta, Dec. 2016.

54. Utility of Nontraditional Data Sources for Early Detection of Influenza. International Society for
Disease Surveillance. Annual Meeting. Atlanta, Dec. 2016.


Scientific Presentations (without abstracts)

1. Time-series decomposition methods for infectious disease epidemiology. North American Congress of
Epidemiology, 2006, Seattle, WA.

2. Spatial coherence and association of temperature, rainfall and the incidence of dengue hemorrhagic
fever in Thailand. DIMACS Workshop on Facing the Challenge of Infectious Diseases in Africa: The Role
of Mathematical Modeling, 2006, Johannesburg, South Africa

3. Modeling new vaccines for measles. DIMACS Workshop on Facing the Challenge of Infectious
Diseases in Africa: The Role of Mathematical Modeling, 2006, Johannesburg, South Africa




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4. Strategies for looking for pattern in spatio-temporal data. DIMACS Workshop on Spatio-temporal and
network models of disease spread, 2007, Edinburgh, Scotland

5. Dengue and the demographic transition. 2nd International Conference on Dengue and Dengue
Hemorrhagic Fever, 2008, Phuket, Thailand

6. Influenza transmission in households in 1918. Epidemics Conference on Infectious Disease Dynamics,
2008, Asilomar, CA

7. Immune landscapes of human influenza in southern China. Ecology and Evolution of Infectious
Diseases, National Institutes of Health and National Science Foundation, 2010, Snowbird, UT

8. Location-specific patterns of exposure to recent pre-pandemic strains of influenza A in southern China:
the Fluscape project. Ecology and Evolution of Infectious Diseases, National Institutes of Health and
National Science Foundation, 2011, Madison, WI

9. The role of modeling epidemics. What do we learn? Infectious Disease Society of America, 2011,
Washington, DC

10. Location-specific patterns of exposure to recent pre-pandemic strains of influenza A in southern
China: the Fluscape project. Ecohealth, 2011, Baltimore, MD

11. Dengue Work of the VMI. Vaccine Modeling Initiative, 2011, Princeton, NJ.

12. Estimates of the degree and length of cross-protection between dengue serotypes from time series
models. American Society of Tropical Medicine and Hygiene, 2011, Philadelphia, PA

13. Immunological landscapes of influenza in southern China: the Fluscape project. NIH MIDAS annual
meeting, 2012, Boston, MA.

14. Estimates of the degree and length of cross-protection between dengue serotypes from time series
models. NIMBioS Dengue Workshop, 2012, Knoxville, TN.

15. Interactions between serotypes of dengue highlight epidemiological impact of cross-immunity.
Dynamical Systems Applied to Biology and Natural Sciences, 2013, Lisbon, Portugal.

16. Models of the impact of partially effective dengue vaccines. Gates Foundation Mathematical
Modeling Summit. 2013. Seattle, WA.

17. Integrated dengue control strategies. Gates Foundation Mathematical Modeling Summit. 2013.
Seattle, WA.

18. Mechanistic models of transmission utilizing contact data. Society for Epidemiologic Research. 2013,
Boston, MA.

19. Natural History and Transmissibility of the MERS-CoV. American Society of Microbiology.
Annual Meeting. 2014. Washington, DC.

20. Spatiotemporal patterns of Dengue and Chikungunya virus. NIH RAPIDD Annual Meeting. 2014.
Bethesda, MD.



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21. Dengue modeling consortium: Analysis of CYD23 data. Sanofi. 2014. Lyon, France.

22. Spatiotemporal patterns of Dengue and Chikungunya virus. MIDAS Annual meeting. 2014. Atlanta,
GA.

23. Middle Eastern Respiratory Syndrome (MERS): Investigating a Novel Coronavirus. MIDAS Annual
meeting. 2014. Atlanta, GA.

24. Spatial dynamics of dengue at multiple scales. Gates Grand Challenges Meeting. 2014. Seattle, WA.

25. Transmission dynamics of dengue at multiple scales. WHO Consultation on Dengue Burden. 2014.
Atlanta, GA.

26. Reporting requirements. Specific requirements for dengue intervention models. WHO Consultation
on the impact of dengue vaccines. 2014. Geneva, Switzerland.

27. Transmission dynamics of dengue and immunization impact at multiple scales. WHO Consultation
on the impact of dengue vaccines. 2014. Geneva, Switzerland.

28. Characterizing Ebola Transmission and Surveillance in West Africa. Society for Epidemiologic
Research. June, 2015. Denver, CO.

29. Immunological landscapes of influenza in China. NIH RAPIDD Meeting on Landscape theory in
infectious disease dynamics. September, 2015. Bethesda, MD.

30. Trends in cases of dengue in infants: insights into serotype differences in disease in naive and non-
naive individuals and population transmission dynamics. Clapham HE, Nisalak A, Kalayanarooj S,
Thaisomboonsuk B, Klungthong C, Fernandez S, Srikiatkhachorn A, Macareo LR, Lessler J, Cummings
DAT, Yoon IK. American Society of Tropical Medicine and Hygiene. 2016. New Orleans, LA.

31. Treatment as prevention strategies for HCV will require massive scale up to see benefits in
prevention. Luis Mier-y-Teran-Romero, Derek Cummings, David Thomas, Carl Latkin, John Wong, Greg
Kirk, David Thomas, Shruti Mehta. CROI, February, 2016. Boston, MA.

32. Age Sharing Patterns in People who Inject Drugs in Baltimore: Implications for HCV Treatment as
Prevention Strategies. M. Kumi Smith, Matt Graham, Shruti Mehta, Luis Mier-y-Teran-Romero, Carl
Latkin, Derek A.T. Cummings. Epidemics. 2016. Clearwater, FL.


Invited Seminars

1. Recurring spatial temporal traveling waves in dengue hemorrhagic fever incidence in Thailand.
Capitol Area Dengue Research Meeting, 2004, Silver Spring, MD

2. Modeling outbreaks for public health response.
Emerging Respiratory Infections Conference, Delaware Health and Social Services, 2004, Dover, DE

3. Spatial patterns of dengue hemorrhagic fever in Thailand.
Department of Geography, University of Maryland, 2004, College Park, MD




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4. Periodic Traveling Waves in Dengue Hemorrhagic Fever Incidence in Thailand.
Virginia Bioinformatics Institute, 2004, Blacksburg, VA

5. Processes impacting the incidence of dengue hemorrhagic fever on multiple temporal and spatial
scales.
53rd Annual Meeting of the American Society of Tropical Medicine and Hygiene, 2004, Miami, FL

6. Dynamic effects of antibody dependent enhancement on the fitness of dengue viruses.
Fogarty International Center, 2005, Washington, DC

7. Spatial synchrony of the waves of incidence of influenza in 1918.
Influenza Modeling Workshop, Global Health Security Action Group, G8, 2005, London, UK.

8. Can pandemic influenza be contained with antivirals?
Global Emerging Infections Surveillance and Response System, U.S. Department of Defense, 2005,
Linthicum, MD

9. Dynamic effects of antibody dependent enhancement on the fitness of dengue viruses.
Center for Infectious Disease Dynamics, Penn State University, 2005, State College, PA

10. Strategies for containing an emerging influenza pandemic in Southeast Asia.
Modeling Working Group. Johns Hopkins Department of Biostatistics, 2005, Baltimore, MD

11. Simulating Pandemic Influenza.
Global Pandemic Initiative. IBM Industry Solutions Laboratory, 2005, Hawthorne, NY

12. Containing Pandemic Influenza.
Pandemic Influenza Preparedness Training, Johns Hopkins Center for Preparedness, 2006, Cumberland,
MD

13. Dengue dynamics in Thailand over the last 20 years.
Thailand Centers for Disease Control, 2006, Bangkok, Thailand

14. Containing Pandemic Influenza.
Infectious Disease Informatics. Surveillance, Modeling and Response. National Center for
Supercomputing Applications, 2006, Urbana-Champaign, IL

15. Dengue viruses: periodic traveling waves and serotype cycling in Thailand.
Five decades of discovery: A symposium to honor the contributions of Monto Ho, 2006, Pittsburgh, PA

16. Shifts in the epidemiology of dengue in Thailand.
University of Pittsburgh. Department of Epidemiology, 2007, Pittsburgh, PA

17. Dengue and the demographic transition.
NIH Fogarty Center, 2008, Bethesda, MD

18. Open questions in dengue research.
Penn State University: Research and Policy for Infectious Diseases Dynamics, 2008, University Park, PA

19. Shifts in the age of dengue hemorrhagic fever cases in Thailand.
CDC Branch, 2008, Puerto Rico


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20. Models of the impact of dengue vaccines: a review of current research and potential approaches.
WHO Scientific Consultation of Dengue Vaccines, 2008, Belem, Brazil

21. Swine H1N1 influenza A: transmissibility, natural history and the potential impact of non-
pharmaceutical interventions.
Johns Hopkins University, 2009, Baltimore, MD

22. Recent findings of transmission dynamics of dengue.
WHO Dengue Reference Group, 2009, Havana, Cuba

23. Dynamics and natural history of H1N1 influenza.
Grand Rounds, Welch Center, Johns Hopkins University, 2010, Baltimore, MD

24. The impact of spatial heterogeneity in the transmission of dengue on the synchrony of incidence.
University of Michigan MAC-EPID Annual Seminar, Ann Arbor, MI 2010.

25. Spatial variation in the transmission of dengue in Thailand: the role of demography and density.
Harvard School of Public Health, 2010, Boston, MA

26. Dengue Virus: Global trends, cycles and waves.
University of Michigan, 2010, Ann Arbor, MI

27. Spatial heterogeneity in the transmission of dengue at multiple spatial scales.
National Center for Medical Intelligence, 2011, Frederick, MD

28. Modeling approaches in long-term safety assessment of live attenuated dengue vaccines. Technical
consultation on long term safety assessment of live attenuated dengue vaccines.
WHO, 2011, Geneva

29. Immune landscapes of human influenza in southern China: The Fluscape Project.
Harbin School of Public Health, 2011, Harbin, China

30. Modeling approaches in long-term safety assessment of live attenuated dengue vaccines. Technical
Consultation on a Framework for Dengue Vaccine Safety Assessment.
WHO, 2011, Geneva

31. Dengue modeling work at Johns Hopkins and the Vaccine Modeling Initiative.
Secretaría de Salud (Ministry of Health), 2011, México

32. Spatial heterogeneity of influenza immunity and infection: the effect of population density and
effective neighborhood size. University of Massachusetts Amherst, 2012, Amherst, MA

33. Models of the impact of partially effective dengue vaccines. 2013. Sanofi Pasteur. Lyon, France.

34. Spatial heterogeneity of influenza immunity and infection: the Fluscape study. Ecology and
Evolution of Infectious Disease Meeting. 2013. State College, PA.

35. Techniques and Opportunities in Infectious Disease Modeling. Center for AIDS Research Seminar.
Johns Hopkins Bloomberg School of Public Health. 2013. Baltimore, MD.



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36. The Fluscape study. Guangzhou Centers for Disease Control. 2013. Guangzhou, China.

37. Social Mixing and Respiratory Transmission in Schools Study. US Centers for Disease Control.
2013. Atlanta, GA.

38. Middle Eastern Respiratory Syndrome (MERS): Investigating a Novel Coronavirus. Johns Hopkins
Health Advisory Board. 2013. Baltimore, MD.

39. Social Mixing and Respiratory Transmission in Schools. US Centers for Disease Control. 2013.
Atlanta, GA.

40. Opportunities and challenges to treatment as prevention approaches for Hepatitis C virus control.
Johns Hopkins University Center for AIDS Research. 2014. Baltimore, MD.

41. Review of Dengue Models. White House Office of Science and Technology Policy meeting on
Integrating Prediction and Forecasting Models for Decision-making: Dengue Epidemic Prediction. 2014.
Washington, DC.

42. Potential opportunities and peril of imperfect dengue vaccines. Johns Hopkins Medical School.
2014. Baltimore, MD.

43. Ventilator Associated Pneumonia among ICU patients: S. aureus and Pseudomonas spp.
Medimmune. 2014. Gaithersburg, MD.

44. Assessing local transmission of Ebola virus in Liberia. Imperial College. 2014. London, UK.

45. Spatial dynamics of dengue and vaccine models. Royal Society. 2014. London, UK.

46. Spatial scales of influenza immunity: Results from the Fluscape project. RAPIDD Group. 2015.
Washington, DC.

47. Prediction of dengue incidence in Thailand. Disease Forecasting Group. White House. 2015.
Washington, DC.

48. Temporal variation in dengue case numbers and relation to climate and using age to map hazards of
infection. WHO Dengue Global Burden Meeting. 2015. Geneva, Switzerland.

49. Immunological landscapes of influenza in China. NIH RAPIDD Meeting on Landscape theory in
infectious disease dynamics. September, 2015. Bethesda, MD.

50. Hospital acquired infections among ICU and individuals undergoing Surgery in 6 Hospital systems: S.
aureus and Pseudomonas spp. Derek Cummings, Rebecca Pierce, Eili Klein, and Trish Perl.
Medimmune. October, 2015. Rockville, MD.

51. Temporal variation in dengue case numbers and relation to climate and using age to map hazards of
infection. World Health Organization. Dec. 2015. Geneva, Switzerland.

52. Potential opportunities and perils of dengue vaccines. EpiCentre. June 2016. Paris, France.

53. Estimation of transmission processes using data augmentation. Institut Pasteur. Seminar. June 2016.
Paris, France.


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54. Interactions of dengue viruses at multiple spatial and temporal scales. Harvard School of Public
Health. February, 2016. Cambridge, MA.

55. An engineer’s experience in epidemiology. Plenary Speaker. Johns Hopkins Bloomberg School of
Public Health Department of Environmental Health and Engineering Inaugural Research Retreat. Jan.
2017. Baltimore, MD.

56. Comparative modelling of dengue vaccine impact and Global estimates of the
dengue transmissibility and seropositivity. WHO Immunization and vaccines related implementation
research-Advisory Committee meeting. 2017. Annecy, France.

57. Spatial dynamics of dengue transmission. University of Florida Emerging Pathogens Institute
External Advisory Committee Meeting. 2017. Gainesville, FL.

58. Characterizing the genetic and antigenic diversity of dengue at multiple spatial and temporal scales.
University of Florida Veterinary Medicine Seminar. 2017. Gainesville, FL.




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                                         CURRICULUM VITAE

                                       DEREK A. T. CUMMINGS

                                                PART II
TEACHING

Advisees

Current Advisees

Post-doctoral
Leah Katzelnick                  Biology /joint with UC Berkeley        2016-present
Rebecca Borchering               Biology                                2017-present
Bingyi Yang                      Biology                                2017-present
Alex Kirpich                     Biology                                2017-present
Bernardo Garcia-Carreras         Biology                                2017-present
Diana Rojas-Alvarez              Biology /joint with UF Biostats        2017-present

PhD
Angkana Huang                    Biology                                2017-present
Diana Rojas-Araya                Entomology                             2017-present

Undergraduate (undergraduates doing research with me)
Carlos Moreno                 Applied Physiology and Kinesiology        2015-present
Silvio Martinez-Daniel        Biomedical Engineering                    2017-present
Francesca Maurici             Biology                                   2016-2017
Chastity Perry                Biology                                   2017

Past Advisees

Post-doctoral

Hannah Clapham                                                          2013-2016
Current Position: Mathematical Epidemiologist
Oxford University Clinical Research Unit

Henrik Salje                                                            2014-2016
Current Position: Faculty, Institut Pasteur

Luis Mier-y-Teran-Romero                                                2010-2014
Current Position: US CDC Staff Scientist

Isabel Rodriguez-Barraquer                                                2012-2014
Current Position: Assistant Professor, University of California San Francisco

Kaitlin Rainwater-Lovett                                              2012-2013
Current Position: Research Associate, Johns Hopkins School of Medicine



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Nicholas Reich                                                           2010-2011
Current Position: Associate Professor, University of Massachusetts, Biostatistics

Justin Lessler                                                        2008-2011
Current position: Associate Professor, Johns Hopkins Bloomberg School of Public Health

Carl Laird                                                           2007-2008
Current Position: Associate Professor, Texas A&M University, Department of Chemical Engineering


PhD
Stephanie Cinkovich             Biology                                2015-2018
Thesis title:
The role of host composition and asymptomatic infection on the transmission dynamics of zoonotic
diseases

Jacob Ball                     Epidemiology                               2015-2018
(co with Xinguang Chen)
Thesis title:
Epidemiological models of infectious diseases for clinical and public health decision support

Talia Quandelacy                Epidemiology                                2013-2017
Thesis title:
Characterizing micro-scale transmission dynamics of
influenza

Henrik Salje                      Epidemiology                          2009-2014
Thesis title:
Insights into the microscale spatial dynamics of dengue and chikungunya in Southeast Asia

Andrew Azman                      Epidemiology                              2009-2014
(co with Justin Lessler)
Thesis title: Heterogeneities in Cholera Transmission

Ben Althouse                    Epidemiology                                2009-2013
Thesis title: Mechanistic Modeling of Sylvatic Arboviruses in Senegal

Su-Hsun Liu                     Epidemiology                           2008-2012
Thesis title: Detectable Human Papillomavirus DNA: Prevalent vs. Incident Infection

Isabel Rodriguez-Barraquer       Epidemiology                          2007-2012
Thesis title: The Shifting Epidemiology Of Dengue: Insight From Serological Surveys

Justin Lessler                   Epidemiology                               2004-2008
Thesis title: Detection and characterization of respiratory pathogens in institutions

Masters

Jordan Johnson                    MS in Epidemiology                         2013-2015
Thesis title: Co-infections with multiple respiratory viruses in children in 9 Pittsburgh area schools in the


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winter of 2012-2013

Jacob Carey                    MS in Epidemiology                      2014-2016
Quantifying proximal contacts between school children during school, outside of school and during
school closures

Yanjie Huang                   MS in Epidemiology                     2013-2014
Thesis title: Quantifying Human Mobility Using The Longest Disease Traveled

Rome Buathong                     MS in Tropical Medicine                 2010-2014
Royal Tropical Institute, Amsterdam, Netherlands
Thesis title: Risk and protective factors for primary and secondary dengue infections among school-aged
children in Meuang district, Rayong province, Thailand

Madhura Rane                  MS in Epidemiology                       2012-2013
Socioeconomic determinants of mortality and disease transmission at census tract level during the 1918
H1N1 Influenza pandemic in Chicago

Katrina Mott                 MS in Epidemiology                    2010-2012
The Effect Of Age And Syndrome On Serotype Prevalence In Invasive Pneumococcal Disease: A Sub-
Analysis Of The Pneumococcal Global Serotype Project

Paul Maurizio     MS in Molecular Microbiology and Immunology           2009-2011
Thesis Title: Detection And Vertical Transmission Of Culex Flavivirus In Culex Quinquefasciatus
(Diptera: Culicidae) Mosquitoes From Zambia, Africa

Ben Althouse                    MS in Biostatistics                   2009-2010
Thesis Title: A Multi-Host Multi-Vector SIR Model of Dengue Fever in Senegal

Ripa Chakravorty                MS in Epidemiology                         2009-2010
Thesis Title: Modeling the incubation period of Escherichia coli

Jon Benenson                     MS in Biostatistics                       2008-2010
Thesis Title: Susceptible reconstruction and serotype specific estimates of seasonality of transmission of
dengue viruses in Thailand using a Time-Series-Susceptible-Infected-Recovered model

Jodi Udd                         MPH                                       2009-2010

Eileen Obe                       MPH                                       2009-2010

Yih Yng Ng                         MPH                                      2008-2009
Thesis title: Prediction of Influenza-Like Illness trends in Singapore using Internet search data

Hannah Lee                       MPH                                       2008-2009

Katherine Lin                  MHS in Epidemiology                   2007-2008
Thesis Title: A Method to Geocode Rural Addresses and Post Office Boxes: Application to a Study of
Drinking Water Nitrate Exposure and Cancer Incidence

Duza Baba,                       MHS in International Health               2006



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Heidi Hallman                   MHS in International Health            2006

Kristin Kelling                 MHS in International Health            2005

Alex Ruan                       Undergraduate in Public Health         2012

Preliminary Oral Participation (*alternate)
Departmental
Name           Date

Talia Quandelacy                PhD     2015
Rebecca Pierce*                 PhD     2014
Andrew Azman                    PhD     2012
Henrik Salje                    PhD     2011
Isabel Rodriguez-Barraquer      PhD     2011
Benjamin Althouse               PhD     2010
Su-Hsun Liu                     PhD     2009
Amanda Latimore                 PhD     2007
Bridget Ambrose                 PhD     2006

Schoolwide

Sheldon Waugh                   PhD     Epidemiology                             2017
Punam Amratia                   PhD     Forest Resources and Conservation        2017
Stephanie Cinkovich             PhD     Biology                                  2017
Jacob Ball                      PhD     Epidemiology                             2016
Talia Quandelacy                PhD     Epidemiology                             2015
Mariam Fofana                   PhD     Epidemiology                             2014
Holly Schuh                     PhD     International Health                     2014
Kristen Little                  PhD     Epidemiology                             2014
Huitong Qui                     PhD     Biostatistics                            2014
Mufaro Kanyangarara             PhD     International Health                     2014
Ian Craig                       PhD     International Health                     2013
Jessica Atwell                  PhD     International Health                     2013
Ricardo Castillo                PhD     Epidemiology                             2012
Andrew Azman                    PhD     Epidemiology                             2012
Benjamin Althouse               PhD     Epidemiology                             2012
Genevieve Wojcik                PhD     Epidemiology                             2011
Michelle Mergier*               PhD     International Health                     2011
Alison Turnbull*                PhD     Epidemiology                             2011
Emily Gurley                    PhD     Epidemiology                             2011
Henrik Salje                    PhD     Epidemiology                             2011
Su-Hsun Liu                     PhD     Epidemiology                             2011
Amanda Latimore                 PhD     Epidemiology                             2010
James Stark                     PhD     Epidemiology, University of Pittsburgh   2010
Isabel Rodriguez-Barraquer      PhD     Epidemiology                             2010
Nikolas Wada*                   PhD     Epidemiology                             2010
Adrienne Shapiro                PhD     Epidemiology                             2009
Bridget Ambrose                 PhD     Epidemiology                             2008
Willem van Panhuis              PhD     International Health                     2008



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Nicholas Reich                   PhD     Biostatistics                           2008
Kathryn Anderson                 PhD     Epidemiology, Emory University          2008
Tassanee Silawan                 PhD     Epidemiology, Mahidol University        2007

Final Oral Participation

Henrik Salje                     PhD     Epidemiology                           2014
Andrew Azman                     PhD     Epidemiology                           2014
Kara Randolph*                   PhD     Epidemiology                           2014
Ben Althouse                     PhD     Epidemiology                           2013
Hannah Clapham                   PhD     Infectious Disease Epidemiology        2013
                                         Imperial College
Melinda Munos*                   PhD     International Health                   2012
Alison Liu                       PhD     Epidemiology                           2012
Isabel Rodriguez-Barraquer       PhD     Epidemiology                           2012
Kaitlin Rainwater Lovett         PhD     Epidemiology                           2012
Johns Ayers*                     PhD     Health, Behavior and Society           2011
Kathryn Anderson                 PhD     Epidemiology, Emory University         2010
James Stark                      PhD     Epidemiology, University of Pittsburgh 2010
Nicholas Reich                   PhD     Biostatistics                          2010
Emily Henkle*                    PhD     Epidemiology                           2010
Willem van Panhuis               PhD     International Health                   2009
Justin Lessler                   PhD     Epidemiology                           2008
Michael Johansson                PhD     Molecular Microbiology & Immunology2008
Christina Schumaker              PhD     Epidemiology                           2008
David Dowdy                      PhD     Epidemiology                           2008
Tassanee Silawan                 PhD     Epidemiology, Mahidol University       2008

Thesis Committee Participation

Mark Kartzinel (UF)              The impact of the larval environment on post-emergence fitness of aedes
                                 aegypti
Punam Amratia (UF)               Fine-scale mapping of malaria in Ghana: use of Bayesian models
Jacob Ball (UF)                  The ecology and epidemiology of respiratory diseases in high-risk
                                 populations
Stephanie Cinkovich (UF)         The Role of Host Composition and Asymptomatic Infection on the
                                 Transmission Dynamics of Zoonotic Diseases
Andrew Azman (JHU)               Heterogeneities in Cholera Transmission
Mary Grabowski (JHU)             Patterns and predictors of the epidemiological and evolutionary
                                 dynamics of HIV-1 infection in Rakai, Uganda
Ben Althouse (JHU)               Studies of Sylvatic Dengue in Senegal
Henrik Salje (JHU)               Combining surveillance data with genetic analysis in the characterization
                                 of spatiotemporal clustering of dengue cases in Bangkok
Isabel Rodriguez-Barraquer       Towards a better estimation of the force of infection and basic
                                 reproductive number of dengue virus
Su-Hsun Liu (JHU)                Mathematical modeling to inform likelihood of second peak HPV
                                 prevalence in older women
Kaitlin Lovett (JHU)             The Impact of Immune Reconstitution and Revaccination on Measles
                                 Immunity in HIV-infected Zambian Children initiating Antiretroviral
                                 Therapy



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Genevieve Wojcik (JHU)          A Genome-Wide Association Study of Oral Polio Vaccine Failure in
                                Infants from Bangladesh (MAL-ED Study):Gene-, and Pathway-Level
                                Analyses
Emily Gurley (JHU)              Exposure to Indoor Air Pollution and Pneumonia in Dhaka, Bangladesh
Justin Lessler (JHU)            The Detection and Characterization of Respiratory Virus Transmission in
                                Institutions
Willem van Panhuis (JHU)        Dynamics of Dengue Antibodies : Transplacental Transfer, Decline after
                                Birth and the Serotype Specific Response to Infection among Infants and
                                Children in Thailand
Christina Schumacher (JHU)      Identifying, Chracterizing and Predicting the Role of Core Groups in
                                Syphilis Epidemics
Nicholas Reich (JHU)            Statistical Methods for Incomplete Data from Infectious Disease
                                Outbreaks
Michael Johansson (JHU)         The Influence of Climate on Dengue Transmission in Puerto Rico
David Dowdy (JHU)               Impact and Cost-Effectiveness of Improved Diagnostics for Tuberculosis
                                in Developing Countries

Classroom Instruction

2017
Principal Instructor (and course developer)
Department of Biology
University of Florida
Outbreaks
Enrollment: 25
I developed a course called “Outbreaks” ZOO4926 which is an undergraduate course that teaches
quantitative concepts in characterizing epidemics and dynamics of emerging infectious diseases in
multiple hosts including humans, animals and plants. Development included creation of lectures, 5 labs
(in class quantitative assignments), final projects and final exam.


2009-2015
Principal Instructor (and course developer) (with Dr. William Moss and Dr. Justin Lessler)
Department of Epidemiology
Bloomberg School of Public Health
Johns Hopkins University
Concepts and Methods in Infectious Disease Epidemiology
Enrollment: 10, 35, 35, 35, 32, 27

2007-2008, 2009-2015
Principal Instructor (and course developer)
Department of Epidemiology
Bloomberg School of Public Health
Johns Hopkins University
Infectious Disease Dynamics: Theoretical and Computational Approaches
Enrollment: 18, 25, 20, 30, 20, 22, 24, 20

2014
Principal Instructor (with Dr. Kenrad Nelson, Dr. Shruti Mehta, and Dr. Isabel Rodriguez-Barraquer)
Department of Epidemiology
Bloomberg School of Public Health


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Johns Hopkins University
Epidemiology of Infectious Diseases
Enrollment: 42

2011
Guest Lecturer “Modeling and prediction of DHF”, “Models of dengue transmission and dengue
vaccines”
PAHO/Instituto Pedro Kouri Dengue Institute
Havana, Cuba
Enrollment: 210

2010
Principal Instructor (and course developer)
Infectious Disease Dynamics: Theoretical and Computational Approaches
Johns Hopkins Bloomberg School of Public Health Fall Institute
Barcelona, Spain
Enrollment: 20

2007-2013
Instructor
Department of Epidemiology
Bloomberg School of Public Health
Johns Hopkins University
Epidemiologic Methods 3
Enrollment: 220 on average in class total each year, 60 in lab section each year.

2007-2013
Faculty Advisor
Department of Epidemiology
Bloomberg School of Public Health
Johns Hopkins University
Modeling of Spatial and Temporal Disease Epidemiology Forum-Student Group

2005-2006
Principal Instructor (and course developer)
Department of International Health
Bloomberg School of Public Health
Johns Hopkins University
Infectious Disease Dynamics: Theoretical and Computational Approaches
Enrollment: 19, 15

2005-2013 (12 separate lectures)
Guest Lecturer “Introduction to mathematical modeling of infectious diseases”, “Influenza"
Department of Epidemiology
Bloomberg School of Public Health
Johns Hopkins University
Infectious Disease Epidemiology

2012-2014 (5 separate lectures)
Guest Lecturer “MERS Coronavirus”, “Dengue", “SARS Coronavirus”



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Department of Epidemiology
Bloomberg School of Public Health
Johns Hopkins University
Emerging Infectious Disease

2008-2010
Guest Lecturer “Host demographics and infectious disease dynamics”
Department of Molecular Microbiology and Immunology
Bloomberg School of Public Health
Johns Hopkins University
Ecology of Infectious Disease

2007-2008
Co-organizer
Departments of Epidemiology and Biostatistics
Bloomberg School of Public Health
Johns Hopkins University
Epi/Biostats Working Group on Infectious Disease

2014, 2015
Guest Lecturer “Infectious Disease Epidemiology”
Global Institute of Public Health
New York University

2006-2008
Guest Lecturer
University of Pittsburgh Graduate School of Public Health
Department of Epidemiology
Infectious Disease Epidemiology

2012
Guest Lecturer “A Practical Short Course in Infectious Disease Modeling”
Harvard University/Mahidol University
Bangkok

2006-2014
Guest Lecturer “Models of infectious disease dynamics”
United States Uniformed Services University
Bethesda, MD
Infectious Disease Epidemiology

2006-2011
Instructor
Field Epidemiology Training Program
Thailand Ministry of Public Health
Bangkok, Thailand
Infectious Disease Dynamics

2003-2004
Guest Lecturer


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Department of Earth and Planetary Sciences
Zanvyl Krieger School of Arts and Sciences
Johns Hopkins University
Climate Change and Global Health

2001
Tutorial Instructor
GEOMED 2001
Université Pierre et Marie Curie, Paris
Time-Series Analysis, Pre-conference Tutorial

1996
Teaching Assistant
Inorganic Chemistry, Brown University

RESEARCH GRANT PARTICIPATION

Active Support
Linking antigenic and genetic variation of dengue to individual and population risk
02/01/15-1/31/2020, NIH R01 Total award: $3,800,000
Principal Investigator: Derek Cummings
Primary Goal:            Characterize the genetic and antigenic variability of dengue viruses circulating
                         over the last twenty years using a large repository of viral samples and build
                         population models of ecological interactions between dengue viruses and its
                         impact on human health.

Southeast Regional Center of Excellence in Vector-Borne Diseases: the Gateway Program.
12/31/2016-12/30/2021, US Centers for Disease Control Total award: $9,999,628.
Principal Investigator: co-PI’s Derek Cummings, Greg Glass, John Beier (University of Miami), Tom
                         Unnasch (University of South Florida), Rhoel Dinglasan, Program Director.
Primary Goal:            Conduct research to enhance our understanding of the transmission dynamics of
                         arthropod-borne disease transmission in order to effectively respond to detect and
                         control outbreaks.

Monitoring cause-specific school absences to estimate influenza transmission in Western PA
09/01/13-08/31/16, CDC U01 Total award: $1,500,000
Principal Investigator: Derek Cummings
Primary Goal:           To refine surveillance in communities for influenza and other respiratory disease
                        incidence using cause-specific absenteeism in school-children in western
                        Pennsylvania.
Role:                   Principal Investigator

Methods for Reducing Spatial Uncertainty and Bias in Disease Surveillance
02/01/2013-01/31/2018, NIH R01 NIAID Total award to UF subcontract: $226,469
Principal Investigator: Justin Lessler
The goal of this research is to develop methods that can improve forecasting and current estimates of the
incidence of dengue and other infectious diseases. The project uses multiple approaches including
mechanistic models and models that traverse multiple temporal and spatial scales to produce estimates of
incidence.
Role:                    Investigator



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Influenza Immunity and Survival in Aging Populations
09/01/15-08/31/2017, US NIH R56 Total award to UF subcontract: $26,395
Principal Investigator: Justin Lessler, Derek Cummings (local PI)
Primary Goal:             This study aims to understand how and why this increase in antibody titers
occurs, and what role survival effects, patterns of infection and the biology of the immune response over
multiple infections play in its development.
Role:                     Investigator

University of Pittsburgh MIDAS Center of Excellence: Data and Statistical Inference Project
07/01/14-08/31/19, NIH U01 Total award to UF subcontract: $217,409
Principal Investigators: Derek Cummings (local PI), Donald Burke (overall PI)
Primary Goal:            Computational modeling for science and policy is driven by availability of data
                         to estimate model parameters. Insights for disease transmission dynamics are
                         derived from statistical inference using these models. This project will capitalize
                         on new opportunities provided by large scale genetic and epidemiological data
                         created during MIDAS-II to study infectious disease transmission dynamics at
                         the micro- and macro level using innovative statistical approaches and parameter
                         estimation methods.
Role:                    Investigator

Modeling interactions between HIV interventions in key populations in India
7/1/2015-6/30/2017, US NIH R21 Total award: $448,573
Principal Investigators: Derek Cummings
Primary Goal:            The proposed study will use a novel modeling approach to help to disentangle
                         multiple dynamic effects of combination interventions in order to inform future
                         large-scale implementation of such combination interventions.



Completed Support
Staphylococcus aureus and Pseudomonas Hospital Acquired Infections
01/01/13-12/31/16, MedImmune
Principal Investigator: Derek Cummings (co) with Trish Perl
Funding Level:          0.6 months
Primary Goal:           Identify risk factors for hospital acquired infections of staphylococcus aureus and
                        pseudomonas in 7 hospital centers and assist in trial design for new intervention
                        products.
Role:                   Principal Investigator

From Ebola Response to Sustainable Public Health Systems in Liberia
7/1/2015-6/30/2016, US CDC
Principal Investigator: David Peters, Derek Cummings (co-PI’s)
Funding Level:           2.4 calendar months
Primary Goal:            The goal of this project is to support the Ministry of Health of Liberia in building
                         an integrated disease surveillance system to conduct surveillance for a number of
                         infectious diseases as well as build general capacity to analyze infectious disease
                         surveillance data.
Role:                    co-Principal Investigator


Inference for interacting pathogens with mechanistic and phenomenological models


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09/01/14-08/31/16, NIH
Principal Investigators: Derek Cummings (local PI), Nick Reich (overall PI)
Funding Level:           1.56 calendar months
Primary Goal:            Develop inference framework to estimate interactions of multiple pathogens that
                         co-circulate and induce immune responses that might create competitive and/or
                         enhancing relationships.
Role:                    Investigator


Modeling of infectious disease; A study of repeat influenza vaccination, and how population based
immunity impacts the genetic makeup of dengue viruses.
04/01/14-9/30/2016, WRAIR
Principal Investigator: Derek Cummings
Funding Level:          0.12 calendar months
Primary Goal:           Two part project to determine the impact of successive influenza vaccine on
                        immunity and risk and 2) dengue population immunity and how this shapes the
                        dengue viral evolution.
Role:                   Principal Investigator

09/01/10-08/31/15, CDC/VA
Principal Investigators: Trish Perl, Lew Radonovich (co-PI’s)
Funding Level:           1.2 calendar months
Primary Goal:            The goal of this research is to compare the efficacy of surgical masks to N95
                         respirators in protecting health care workers from respiratory viruses including
                         influenza.
Role:                    Investigator

Analytic Support for the Ebola Outbreaks and Strengthening Primary Health Care in West Africa and
Democratic Republic of Congo
10/15/14-01/31/15, Unicef
Principal Investigators: David Peters (PI)
Funding Level:           0.12 calendar months
Primary Goal:            The goal of this project is to conduct analyses and simulations to support
                         UNICEF’s response to the Ebola virus outbreak in West Africa.
Role:                    Investigator

VMI II: Application of Computational Models to Guide and Evaluate Global
07/01/13-06/30/15, University of Pittsburgh, Bill and Melinda Gates Foundation
Principal Investigator: Derek Cummings
Funding Level:          0.60 calendar months
Primary Goal:           To use theoretical models to evaluate multiple vaccination strategies and vaccine
                        candidates to control dengue and other vector-borne diseases
Role:                   Principal Investigator


Quantifying Contact Rates and Mixing Patterns in School Aged Children
08/31/11 - 08/30/14, CDC
Principal Investigator: Derek Cummings (co) with Shanta Zimmer
Funding Level:          1.2 calendar months
Primary Goal:           The goal of this work is to use multiple methods to quantify the contacts that
                        school children make that could potentially transmit influenza including survey,


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                        proximity detectors and GPS devices in order to evaluate each of these methods.
                        We will also link measures of social contact to the risk of acquisition of
                        influenza.
Role:                   co-Principal Investigator

Immune Landscapes of Human Influenza in Households, Towns and Cities in Southern China
10/01/08-8/31/14, NIH
Principal Investigator: Derek Cummings
Funding Level:          1.8 calendar months
Primary Goal:           The goal of this work is to characterize immunological profiles to human
                        influenza in space and time among individuals living in Guangzhou province,
                        China, and to build computational models that capture the transmission dynamics
                        that could create the specific distributions observed.
Role:                   Principal Investigator

Career Award at the Scientific Interface
07/01/07 - 07/31/15, Burroughs Wellcome
Principal Investigator: Derek Cummings
Funding Level:          0.12 calendar months
Primary Goal:           To study natural and vaccine-induced immunity and spatial-temporal
                        dynamics of epidemic dengue
Role:                   Principal Investigator

Using Viral Sequences to Characterize the Micro-scale Dispersal Dynamics of Dengue in Bangkok
2/1/2012-12/31/2014, Johns Hopkins Center for Global Health
Principal Investigator: Derek Cummings
Funding level:          $50,000 research funds (0 months)
Primary Goal:           Describe the micro-scale transmission of dengue in an urban environment using
                        genetic and geographic information on the occurrence of cases.
Role:                   Principal Investigator


Computational Models of Infectious Disease Threats Center for Excellence
04/01/09 – 04/01/14, NIH-NIGMS
Principal Investigator: Don Burke
Funding Level:          3.0 calendar months
Primary Goal:           Integrate the most advanced and powerful techniques of epidemiological data
                        analysis with those of computer simulation to produce a unified computational
                        epidemiology.
Role:                   Investigator

Vaccine Modeling Initiative
04/1/08-04/31/13, Bill and Melinda Gates Foundation
Principal Investigator: Don Burke
Funding Level:          1.0 calendar months
Primary Goal:           Evaluation of candidate vaccine technologies using computational models.
Role:                   Investigator

Temporal and Spatial Dynamics of Sylvatic Arbovirus Transmission and Emergence




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10/1/08-09/31/13, NIH
Principal Investigator: Scott Weaver
Funding Level:          1.8 calendar months
Primary Goal:           The goal of this project is to study the dynamics of transmission of dengue and
                        chikungunya virus among non-human primate species in Senegal and determine
                        which species support transmission of these viruses endemically and which ones
                        appear to be only spillover species.
Role:                   Investigator

Multi-Scale Modeling of Infectious Diseases in Fluctuating Environments
09/01/09 – 08/31/13, NIH
Principal Investigator: Derek Cummings, Lora Billings (co)
Funding Level:          0.6 calendar months
Primary Goal:           The objective of this proposal is to develop new mathematical models of
                        infectious disease transmission that effectively, capture the impact of
                        stochasticity on dynamics and lead to more effective control. The group will
                        study the dynamics of disease spread in fluctuating environments modeled at
                        various population scales.
Role:                   Co-Principal Investigator

Preparedness and Catastrophic Event Response (PACER)
06/01/09 – 05/31/12, US department of Homeland Security
Principal Investigator: Gabe Kelen
Funding Level:          0.12 calendar months
Primary Goal:           PACER is a consortium of research institutions studying how the nation can best
                        prepare for and respond to potential large-scale incidents and disasters. My work
                        on this project is on model development for pandemic influenza models
                        particularly, methods for parameter estimation for individual based simulations.
Role:                   Investigator

Immune Reconstitution of HIV-1 Infected Zambian Children Initiating Antiretroviral Therapy 03/01/07 –
02/28/12, NIH
Principal Investigator: William Moss
Funding Level:          0.6 calendar months
Primary Goal:           This project will study measles and measles vaccination in HIV-1-infected
                        children in Lusaka, Zambia to characterize measles virus-specific immune
                        reconstitution and immunologic memory in Zambian children initiating ART.
Role:                   Investigator

Planning for Avian Influenza Outbreaks and Potential Pandemics
9/14/05 – 3/31/10, NIH-Fogarty International Center
Principal Investigator: Don Burke
Funding Level:          0.6 calendar months
Primary Goal:           Develop capacity among epidemiologists at the Thai Ministry of Public Health
                        to utilize new theoretical and computational tools in concert with
                        traditional epidemiologic approaches to address issues surrounding avian
                        influenza and potential influenza pandemics.
Role:                   Investigator

Computational Models of Infectious Disease Threats



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04/01/04 – 04/01/09, NIH-NIGMS
Principal Investigator: Don Burke
Funding Level:          4.2 calendar months
Primary Goal:           Integrate the most advanced and powerful techniques of epidemiological data
                        analysis with those of computer simulation to produce a unified computational
                        epidemiology.
Role:                   Program Coordinator and Investigator

Pittsburgh Influenza Prevention Program
10/01/06 - 09/31/08, CDC
Principal Investigator: Don Burke
Funding Level:          0.6 calendar months
Primary Goal:           Study the transmission dynamics of influenza in Pittsburgh elementary
                        schools and conduct trials of non-pharmaceutical interventions targeting
                        influenza transmission.
Role:                   Investigator

Harmonic Decomposition and Compartmental Models in the Analysis of Epidemiologic and Climatic
Data: An Analysis of Dengue in Southeast Asia
07/01/04 - 06/31/07, NOAA
Principal Investigator: Don Burke
Funding Level:          2.4 calendar months
Primary Goal:           Apply methods developed under previous funding cycle to data from
                        Southeast Asia on dengue hemorrhagic fever.
Role:                   Investigator

Ethical Issues in Influenza Pandemic Preparedness and Response
04/01/06 - 10/01/06, Rockefeller Foundation
Principal Investigators: Ruth Faden and Ruth Karron (co-PI’s)
Funding Level:           0.12 calendar months
Primary Goal:            Identify current and potential responses to the threat of pandemic
                         influenza that profoundly affect the world’s disadvantaged and to
                         undertake concrete action to prevent or at least to mitigate those responses
                         that are the most unjust. Simulate the impact of pandemic mitigation
                         responses in resource poor settings.
Role:                    Investigator

Computational Modeling of Vaccination Strategies against Smallpox
08/01/02 - 07/31/04, Alfred P. Sloan Foundation
Principal Investigator: Joshua Epstein
Funding Level:          2.4 calendar months
Primary Goal:           Develop computer simulations of the introduction and spread of a bio-
                        terrorist agent such as smallpox in human populations, and evaluate
                        possible response strategies.
Role:                   Investigator

Research to Guide Allocation of Public Resources in the Event of an Intentional Introduction of Smallpox
12/01/02 – 05/31/04, FIC / NIH / DHHS
Principal Investigator: Don Burke
Funding Level:          2.4 calendar months
Primary Goal:           Develop, evaluate, and utilize computational models of smallpox


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                         introduction into the USA, and of public health strategies to contain
                         smallpox epidemics.
Role:                    Investigator

Harmonic Deconstruction in the Analysis of Epidemiologic and Climatic Data.
08/01/02 – 07/31/03, NOAA
Principal Investigator: Don Burke
Funding Level:          2.4 calendar months
Primary Goal:           Develop and evaluate new computational methods for correlating dengue
                        epidemiologic data and weather data, such as wavelet transforms and
                        Empiric Mode Decomposition.
Role:                   Investigator


ACADEMIC SERVICE

Department of Biology

Advisory Committee                                                                 2015-present
Strategic Planning Committee                                                       2016-present

Department of Epidemiology

Lead, Department of Epidemiology Self-study                                2013-present
Chair of Faculty Executive Committee                                       2013-present
Faculty Executive Committee                                                2012-present
Infectious Disease Journal Club, Faculty Coordinator                       2009-2012
Admissions and Credentialing Committee, Member                             2009-2012

Department of International Health

Steering Committee, Member                                                 2005-2006

School-wide

Technology Transfer Committee, Member                                      2010-2015



ADDITIONAL INFORMATION

Personal statement of research and research objectives

I am interested in developing effective strategies for the control infectious diseases. My approach in
doing this is to develop temporally or spatially targeted administration of vaccines or other interventions
to produce the largest reduction in morbidity and mortality. I utilize a mix of field study and theoretical
models of infectious disease in order to understand the transmission dynamics of dengue, influenza,
measles, hepatitis C and chikungunya and to estimate the impact of specific interventions.

Keywords



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Infectious disease, dynamics, influenza, dengue, measles, hepatitis C, ebola, social dynamics, vaccine-
preventable, mathematical models, ecology




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